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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF NEW YORK

   -------------------------------------------------------------
   GILEAD SCIENCES, INC., et al.,                                  :
                                                                   :
                                         Plaintiffs,               :   Case No. 21-cv-4106 (AMD)
                                                                   :   (RER)
   v.                                                              :
                                                                   :
   SAFE CHAIN SOLUTIONS, LLC, et al.,                              :
                                                                   :
                                         Defendants.               :
   -------------------------------------------------------------
                     STIPULATION AND [PROPOSED] ORDER EXTENDING
                     THE TIME TO ANSWER OR OTHERWISE RESPOND TO
                      THE CORRECTED FOURTH AMENDED COMPLAINT

           WHEREAS, on July 30, 2022, Plaintiffs Gilead Sciences, Inc., Gilead Sciences Ireland

   UC, and Gilead Sciences, LLC (together, “Gilead” or “Plaintiffs”) filed their proposed Fourth

   Amended Complaint naming, inter alia, Defendant Alex Gelbinovich (“Gelbinovich”);

           WHEREAS, on August 11, 2022, the Court entered the Fourth Amended Complaint (Dkt.

   No. 626);

           WHEREAS, on September 30, 2022, Gilead filed the corrected Fourth Amended

   Complaint (Dkt. No. 782); and

           WHEREAS Gilead and Gelbinovich have agreed to extend Gelbinovich’s time to answer,

   move, or otherwise respond to the Corrected Fourth Amended Complaint.

           NOW THEREFORE, UPON THE STIPULATION AND AGREEMENT by and between

   the undersigned counsel for Plaintiffs and Gelbinovich, it is hereby ORDERED that:
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             1.   Alex Gelbinovich’s time to answer, move, or otherwise respond to the Corrected

                  Fourth Amended Complaint is extended until November 25, 2022.

             2.   Plaintiffs and Gelbinovich do not waive and reserve all rights and remedies not

                  specifically addressed herein.

             3.   Signatures transmitted electronically or by facsimile shall be deemed original.

   Dated: October 25, 2022



   Respectfully submitted,



    /s/ Geoffrey Potter             /s/ Leo Shalit
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   Attorneys for Plaintiffs




                                                               SO ORDERED

                                                               ___________________________



   Issued:




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